         Case 3:22-cv-01172-MEM Document 1 Filed 07/28/22 Page 1 of 10




                 IN THE UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

Eugene Stilp,                         :
                                      :
                           Plaintiff, :
                                      :
        vs.                           :         No.
                                      :
City of Scranton,                     :         JURY TRIAL DEMANDED
                                      :
                           Defendant. :

                                      Complaint

        Plaintiff Gene Stilp by undersigned counsel Mette, Evans & Woodside files

this complaint challenging Defendant City of Scranton’s open burning ordinance

under the First Amendment – both facially and as applied – for suppressing

expressive conduct in the form of flag burning.

                                        Parties

        1.    Plaintiff Gene Stilp (“Stilp”) is an adult individual.

        2.    Defendant City of Scranton (“City”) is a political subdivision of the

Commonwealth of Pennsylvania that maintains a principal office at 340 North

Washington Avenue, Scranton, Pennsylvania 18503.

                               Jurisdiction and Venue

        3.    This Court has jurisdiction under 28 U.S.C. § 1343. This case is

brought under 42 U.S.C. § 1983. Attorneys fees are authorized by 42 U.S.C. §

1988.
         Case 3:22-cv-01172-MEM Document 1 Filed 07/28/22 Page 2 of 10




      4.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b),

because the City is located in the Middle District of Pennsylvania, which is the

location where a substantial part of the events or omissions giving rise to the claim

occurred.

      5.     Plaintiff seeks both legal and equitable relief.

                                         Facts

      6.     The allegations of the foregoing paragraphs are incorporated by

reference.

      7.     Stilp is a prominent political activist in Pennsylvania who frequently

publicly protests political corruption and racial injustice.

      8.     Over the past several years, Stilp has publicly burned political flags in

various locations throughout the United States as a means of protesting politicians

and political ideologies he opposes.

      9.     As a part of such protests, Stilp has often burned flags bearing images

and slogans supporting the policies and politics of former President Donald J.

Trump.

      10.    On July 30, 2020, Stilp appeared at the Lackawanna County

Courthouse in the City of Scranton to conduct a political demonstration during

which he intended to burn three flags: a Trump campaign flag sewn together with a

Nazi flag, a Trump campaign flag sewn together with a flag of the former Soviet


                                           2
        Case 3:22-cv-01172-MEM Document 1 Filed 07/28/22 Page 3 of 10




Union, and a Trump campaign flag sewn together with a Confederate flag (“Trump

Protest Flags”).

      11.    Stilp’s intended purpose in burning the Trump Protest Flags was to

publicly oppose policies and positions espoused by then President Trump which

Stilp asserts are racist and contrary to the best interests of the United States.

      12.    The area in front of the main doors of the Lackawanna County

Courthouse is open to the public and is a traditional public forum.

      13.    As Stilp prepared to burn the Trump Protest Flags in a metal trash can

he had brought for the flag-burning ceremony, approximately four law

enforcement officers employed by the City stood by and observed Stilp.

      14.    One officer approached Stilp and warned him not to burn the Trump

Protest Flags, threatening to cite Stilp for burning the flags. Stilp was also asked to

produce his driver’s license.

      15.    Wishing to exercise his First Amendment rights, Stilp proceeded to

ignite the first of the Trump Protest flags over the steel trash can he had brought to

ensure fire safety at the protest.

      16.    Upon igniting the flag, a City law enforcement officer approached

Stilp and extinguished the fire as soon as it was lit, then proceeded to further spray

fire extinguisher fluid inside the trash can Stilp had brought for the protest in

which to burn the flags.


                                           3
        Case 3:22-cv-01172-MEM Document 1 Filed 07/28/22 Page 4 of 10




      17.    The law enforcement officer warned Stilp that if he tried to ignite

another flag, it too would be extinguished.

      18.    The City maintains an ordinance that regulates public burning. See

Chapter 146 of the Codified Ordinances of Scranton, Pennsylvania, as amended

(“Codified Ordinances”). Such section and other related sections of the Codified

Ordinances (§§ 146-1 -146-11) are attached as Exhibit A.

      19.    The City’s Burn Ordinance (excerpted and re-ordered for clarity)

states in relevant part the following,

      § 146-6 Open burning prohibited.

      No person shall conduct a salvage operation or destroy refuse by open
      burning.

      § 146-3 Definitions. [Irrelevant portions omitted]

      The following words, terms and phrases, when used in this chapter, unless
the context clearly indicates otherwise, shall have the following meanings
respectively ascribed to them:

      Open Burning – Any unclosed fire wherein products of combustion are
emitted to the open air, and are not directed thereto through a flue.

      Refuse – Garbage, rubbish and trade waste

       Rubbish – Solids not considered to be highly flammable or explosive,
including but not limited to rags, old clothes, leather, rubber, carpets, wood,
excelsior, paper, ashes, tree branches, tree leaves, yard trimmings, furniture, tin
cans, glass, crockery masonry and other similar items.

      § 146-10 Abatement of violations.


                                           4
        Case 3:22-cv-01172-MEM Document 1 Filed 07/28/22 Page 5 of 10




       The Air Pollution Control Officer may institute an action in equity for
an injunction to restrain continuous violations of this chapter if the Control
Officer has issued an abatement notice which is being violated and which is
not then the subject of judicial review.

      § 146-11 Violations and penalties.

       Prosecutions under this chapter shall be instituted by the Air Pollution
Control Officer and shall be prosecuted in the name of the city. Any person
violating any of the provisions of this chapter shall upon conviction thereof
be punished as provided in § 1-16.

      § 1-16 General penalty.

       Whenever in any provision of this Code or in any city ordinance, an
act is declared unlawful or a nuisance or is prohibited, or the performance of
any act is required or the failure to do any act is declared unlawful, each
violation or noncompliance thereof shall, where another penalty is not
otherwise provided for, subject the violator to a penalty for the violation
thereof, not exceeding three hundred dollars ($300) for one offense,
recoverable with costs, together with judgment of imprisonment not
exceeding ninety (90) days if the amount of such judgment and costs shall
not be paid; except where otherwise provided by state law.

Exhibit A.

      20.    The Burn Ordinance facially admits of no exception for burning flags

in public protest and thus violates the First Amendment guarantee to freedom of

expression. See Texas v. Johnson, 491 U.S. 397 (1989).

      21.    The Burn Ordinance is also unconstitutional as applied, because it was

actually enforced against Stilp by the law enforcement officer extinguishing the

burning flag.



                                          5
         Case 3:22-cv-01172-MEM Document 1 Filed 07/28/22 Page 6 of 10




        22.   Because of the actual enforcement of the Burn Ordinance against him,

Stilp fears conducting further protests involving flag burning in public places

within the City of Scranton.

        23.   In addition to issuance of a citation for a summary offense against

him, Stilp also reasonably fears the prosecution of a civil action against him for

abatement as the Burn Ordinance authorizes. Ordinance § 146-10.

        24.   Stilp desires to hold one or more additional flag burning protests

within the City, including both on courthouse grounds and in public areas of the

City.

        25.   Stilp has no adequate remedy at law for prospective enforcement of

the Burn Ordinance against him.

                                      Count I
               Violation of Right to Free Speech (Facial Challenge)
                      U.S. Const. amend. I; 42 U.S.C. § 1983

        26.   The averments of the foregoing paragraphs are incorporated by

reference.

        27.   The Burn Ordinance facially violates the First Amendment and is

overly broad by prohibiting the burning of flags as an act of public political protest

at all times within the geographic limits of the City.




                                           6
        Case 3:22-cv-01172-MEM Document 1 Filed 07/28/22 Page 7 of 10




      28.     The Burn Ordinance facially inhibits Stilp’s right to free speech by

preventing him from publicly protesting through flag burning which has chilled the

exercise of his free speech rights.

      29.     Though he desires to conduct additional flag-burning protests in the

City of Scranton, Stilp has refrained from doing so out of reasonable fear of

prosecution for a summary offense and also an action in abatement under the Burn

Ordinance.



WHEREFORE, Plaintiff Gene Stilp prays the Court to:

              a.    DECLARE the Burn Ordinance FACIALLY

UNCONSTITUTIONAL under the First Amendment;

              b.    PERMANENTLY ENJOIN enforcement of the City’s Burn

Ordinance; and

              c.    AWARD attorneys fees pursuant to 42 U.S.C. § 1988, costs of

suit and such other relief as is just and equitable.

                                      Count II
             Violation of Right to Free Speech (As Applied Challenge)
                      U.S. Const. amend. I; 42 U.S.C. § 1983

      30.     The averments of the foregoing paragraphs are incorporated by

reference.




                                            7
        Case 3:22-cv-01172-MEM Document 1 Filed 07/28/22 Page 8 of 10




      31.    Defendant has both applied and threatened to apply the Burn

Ordinance in violation of Stilp’s right to free speech under the First Amendment.

      32.    Defendant has both applied and threatened to apply the Burn

Ordinance to Stilp in an arbitrary and capricious manner by extinguishing the fire

set for political demonstration.

      33.    Stilp is in reasonable fear of prosecution for a summary offense or an

action in abatement under the Burn Ordinance if he would again attempt to burn

political flags as expressive conduct, because of the actions of law enforcement

officers taken against him for burning political flags on July 30, 2020.

      WHEREFORE, Plaintiff Gene Stilp prays the Court to:

             a.     DECLARE the Burn Ordinance UNCONSTITUTIONAL AS

APPLIED under the First Amendment;

             b.     PERMANENTLY ENJOIN enforcement of the City’s Burn

Ordinance against Plaintiff Gene Stilp; and

             c.     AWARD attorneys fees pursuant to 42 U.S.C. § 1988, costs of

suit and such other relief as is just and equitable.

                                    Count III
                   Violation of Right to Free Speech (Damages)
                      U.S. Const. amend. I; 42 U.S.C. § 1983

      34.    The averments of the foregoing paragraphs are incorporated by

reference.


                                            8
        Case 3:22-cv-01172-MEM Document 1 Filed 07/28/22 Page 9 of 10




      35.    Stilp’s First Amendment right to free speech and expression have

been suppressed and violated by virtue of the Burn Ordinance, an official

ordinance of the City, since the time of his protest until the present.

      36.    As a direct and proximate result of such suppression of Stilp’s First

Amendment right to free speech and expression, Stilp has suffered damages for

which he must be compensated.




                                           9
       Case 3:22-cv-01172-MEM Document 1 Filed 07/28/22 Page 10 of 10




      WHEREFORE, Plaintiff Gene Stilp prays the Court to ENTER

JUDGMENT in his favor and against the City of Scranton for nominal and

compensatory damages for the actual suppression of Stilp’s First Amendment

rights under the City’s Burn Ordinance, attorneys fees pursuant to 42 U.S.C. §

1988, costs of suit and such other relief as is just and equitable.

                                        Respectfully submitted,

                                        METTE, EVANS & WOODSIDE

                                        /s/ Aaron D. Martin
                                  By:   _____________________________
                                        Aaron D. Martin
                                        Pa. Atty. I.D. 76441
                                        Sarah E. Straub
                                        Pa. Atty. I.D. 330748
                                        3401 North Front Street
                                        Harrisburg, PA 17110
                                        (717) 232-5000 (phone)
                                        (717) 236-1816 (fax)
                                        admartin@mette.com

                                        Attorney for Plaintiff,
                                        Gene Stilp

Dated: July 28, 2022




                                          10
